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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


LAUREN LAYTON, TAHARRIA
HAMILTON, DEBORAH ESTES and
LISA DAVINO,

                       Plaintiffs,

v.                                                            Case No: 6:17-cv-1488-Orl-41DCI

PERCEPTA, LLC,

                       Defendant.
                                             /

                                             ORDER

       THIS CAUSE is before the Court on the parties’ Joint Motion for Approval of Settlement

and Dismissal with Prejudice. (“Joint Motion,” Doc. 65). United States Magistrate Judge Daniel

C. Irick submitted a Report and Recommendation (“R&R,” Doc. 66), in which he recommends

granting in part the Joint Motion by approving the Settlement Agreement and amount of attorney’s

fees but denying in part by striking the modification provision and declining to retain jurisdiction

over the Agreement. (See generally Doc. 66). The parties have filed a Joint Notice of No Objection

to the Court’s Report and Recommendation. (Doc. 67).

       After a de novo review of the record, this Court agrees entirely with the analysis in the

R&R. Therefore, it is ORDERED and ADJUDGED as follows:

           1. The Report and Recommendation (Doc. 66) is ADOPTED and CONFIRMED and

               made a part of this Order.

           2. The Joint Motion for Approval of Settlement and Dismissal with Prejudice (Doc.

               65) is GRANTED in part.




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           3. To extent that the modification provision the Agreement (Doc. 65-1 at 6, ¶ 14)

              permits the parties to modify the agreement without Court approval, it is

              STRICKEN.

           4. As modified herein, the parties’ Settlement Agreement is APPROVED.

           5. This case is DISMISSED with prejudice.

           6. The Court declines to retain jurisdiction over the Settlement Agreement.

           7. The Clerk is directed to close this case.

       DONE and ORDERED in Orlando, Florida on March 5, 2019.




Copies furnished to:

Counsel of Record




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